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 9                                        UNITED STATES DISTRICT COURT

10                                     EASTERN DISTRICT OF CALIFORNIA

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12   GERALD CARLIN, ET AL.,                                      No. 1:09-CV-00430-AWI-EPG
13                          Plaintiffs,
14            v.                                                 ORDER REGARDING SETTLEMENT
                                                                 CONFERENCE PROCEDURES
15   DAIRYAMERICA, INC., ET AL.,
16                          Defendants.
17

18            Consideration of settlement is a serious matter that requires thorough preparation prior to

19   the settlement conference. Unless otherwise permitted in advance by the Court, the attorneys

20   who will try the case shall appear at the Settlement Conference. Additionally, the parties and the

21   person or persons having full authority to negotiate and settle the case on any terms must be

22   present at the conference.1 Set forth below are the procedures the Court will employ when

23   conducting the conference scheduled for October 3, 2016, at 10:00 a.m., before Magistrate Judge

24   Erica P. Grosjean.

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       Insurance carriers, business organizations, and governmental bodies or agencies whose settlement agreements are
26   subject to approval by legislative bodies, executive committees, boards of directors or the like shall be represented by
     a person or persons who occupy high executive positions in the party organization and who will be directly involved
27   in the process of approval of any settlement offers or agreements. To the extent possible, the representative shall
     have the authority, if he or she deems it appropriate, to settle the action on terms consistent with the opposing party's
28   most recent demand.                                          1
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 1          As noted in the Court’s Order of 8/16/2016, document [348], each party is directed to

 2   submit a Confidential Settlement Conference Statement in Word format directly to Judge

 3   Grosjean’s chambers at epgorders@caed.uscourts.gov. The statement shall not be filed on the

 4   docket or served on any other party. Each statement shall be clearly marked "confidential" with

 5   the date and time of the settlement conference clearly noted on the first page. The Confidential

 6   Settlement Conference Statement shall include the following:

 7                  A. A brief statement of the facts of the case.

 8                  B. A brief statement of the claims and defenses, i.e., statutory or other grounds

 9                  upon which the claims are founded; a forthright evaluation of the parties'

10                  likelihood of prevailing on the claims and defenses; and a description of the major

11                  issues in dispute.

12                  C. A summary of the proceedings to date.

13                  D. An estimate of the cost and time to be expended for further discovery, pretrial

14                  and trial.

15                  E. The relief sought.

16                  F. The party's position on settlement, including present demands and offers and a

17                  history of past settlement discussions, offers and demands.

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     IT IS SO ORDERED.
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20      Dated:     September 9, 2016                           /s/
                                                          UNITED STATES MAGISTRATE JUDGE
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